           Case 2:21-cr-01697-AM Document 8 Filed 10/27/21 Page 1 of 2
                                                                                      FILED

                                                                                     October 27, 2021
                                                                                 CLERK, U.S. DISTRICT COURT
                                                                                 WESTERN DISTRICT OF TEXAS
                            UNITED STATES DISTRICT COURT
                                                                             BY:               TB
                             WESTERN DISTRICT OF TEXAS
                                                                                                    DEPUTY
                                     DEL Rio
                                     Del RIO DIVISION

UNITED STATES OF AMERICA                        §       Cause No.:      DR-21-CR-01697-AM
                                                §
                                                §       INDICTMENT
v.                                              §
                                                §       (a)(2) - FalseStatement or Representation Made to anAgency
                                                §
                                                §
ARMANDO^REYNA MARTINEZ                          §



THE            JURY

                                          COUNT ONE
                                     [18 U.S.C. § 1001(a)(2)]

                                                                            Defendant,

                               ARMANDO REYNA MARTINEZ,

did knowingly and willfully make and cause to be made materially false, fictitious, and fraudulent

statements and representations to a United States Customs and Border Protection Officer, in a

matter within the jurisdiction of an executive department or agency of the United States, that

is, Defendant stated he was a United States citizen and that his name was Jesus Salazar Rodriguez,

knowing such statements and representations to be false in order to avoid further inspection by

United States Customs and Border Protection Officers, all in violation of Title 18, United States

Code, Section 1001(a)(2).

                                                     A TRUEBILL.
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ASHLEY C. HOFF
United States Attorney

                57   v
                             For
By:
      MICHAEL G. SCHNEIDER
      Assistant United States Attorney
